Case 1:21-cv-06261-JFK-GWG Document 14 Filed 11/02/21 Page1of1
Case 1:21-cv-06261-JFK-GWG Document 13-4 Filed 11/01/21 Page 1 of1

 

| USDC SDNY
IN THE UNITED STATES DISTRICT COURT | DOCUMENT
} ALECTRONICALLY FILED

FOR THE SOUTHERN DISTRICT OF NEW YORK aoe RONICALLY PIL

 

FAD ALUN aha Shy PS

 

(DATE FILED: 12 4

 

 

THOMAS DIAMOND, (ie
Case No, 1:21-CV-06261
Plaintiff,
Vv,
: ORDER FOR ADMISSION
CSX TRANSPORTATION, INC., : PRO HAC VICE
Defendant.

 

The motion of Edwin Brian Palmer for admission to practice Pro Hac Vice in the above
captioned action is granted.

Applicant has declared that he is a member in good standing of the bars of the states of
Pennsylvania and West Virginia; and that his contact information is as follows:

Applicant’s Name: Edwin B. Palmer, Esq.

Firm Name: Burns White LLC

Address: Burns White Center
48 26" Street
Pittsburgh, PA 15222

Telephone: (412) 995-3000

Fax: (412) 995-3300

Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel
for CSX Transportation, Inc. in the above entitled action;

IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice in the
above captioned case in the United States District Court for the Southern District of New York.
All attorneys appearing before this Court are subject to the Local Rules of this Court, including
the Rules governing discipline of attorneys.

Dated: // | d / 3 | ( Volon> r js C4 LE ag
i t v7

John F. Keenan
United States District Judge

 
